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     Attorneys for Plaintiff
 8
                                 UNITED STATES DISTRICT COURT
 9

10                             NORTHERN DISTRICT OF CALIFORNIA

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12
     CASA NIDO PARTNERHSIP, a California           Case No. 20-cv-07923
13   Partnership,
14
     Plaintiff,
15                                                 NOTICE OF TAKING MOTION FOR
     v.
                                                   ORDER REFERRING THIS CASE TO
16
                                                   MEDIATION OFF CALENDAR
     CATHERINE O’HANKS; JAE KWON aka JAY
17   KWON aka JAY KWON SHIK aka JAY SHIK
     KWON; LYNNE MARIE GARIBOTTI aka
18
     LYNNE GARIBOTTI BLOWER aka LYNNE
19   G. BLOWER, as trustee the Claudio Garibotti
     Trust, dated May 1, 1952; and SENTRY
20   INSURANCE COMPANY,
21   Defendant.
22
     _______________________________________
23
     CATHERINE O’HANKS,
24
     Counter-Claimant
25

26   v.

27
                                              1
28        NOTICE OF TAKING MOTION FOR ORDER REFERRING THIS CASE TO MEDIATION OFF
                                        CALENDAR
           Case 3:20-cv-07923-EMC Document 129 Filed 08/03/22 Page 2 of 2




     CASA NIDO PARTNERSHIP, a California
 1
     Partnership,
 2
     Counter-Defendant.
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 6
            TO ALL PARTIES OF RECORD:
 7
            PLEASE TAKE NOTICE that Plaintiff’s Motion for Order Referring this Case to
 8
     Mediation, presently set for hearing on September 15, 2022, at 1:30 p.m. in Courtroom 5 of the
 9
     above-entitled Court, has been taken off calendar. This Motion is moot in light of the Court’s
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11   Minute Order dated July 26, 2022, ordering this case to private mediation with Mediator

12   Joshua Bloom, with mediation discussions to commence no later than October 31, 2022.

13   (Docket Document 123).
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15   Dated: August 3, 2022                               GREENFIRE LAW, PC
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18                                                       Rachel S. Doughty

19                                                       Attorney for Plaintiffs

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28      NOTICE OF TAKING MOTION FOR ORDER REFERRING THIS CASE TO MEDIATION OFF
                                      CALENDAR
